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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

UNITED STATES OF AMERICA,                         §
                                                  §
v.                                                §           Case Number: 3:18-CR-00409-M
                                                  §
DWAINE CARAWAY (1),                               §
                                                  §
       Defendant.                                 §

                                             ORDER

       Upon motion of the defendant for compassionate release pursuant to 18 U.S.C.
§ 3582(c)(1)(A) and for home confinement under 18 U.S.C. §3624(c)(2) and the CARES Act,

        IT IS ORDERED that the motion is:

☐ DEFERRED pending supplemental briefing. The court DIRECTS the United States Attorney
to file a response on or before _________________, 2020, along with all Bureau of Prisons records
[medical, institutional, administrative] supporting the approval or denial of this motion.

☐ DISMISSED WITHOUT PREJUDICE for want of jurisdiction because of Defendant’s pending
direct appeal.

☐ DENIED FOR FAILURE TO EXHAUST ADMINISTRATIVE REMEDIES under 18 U.S.C.
§ 3582(c)(1)(A) (failure to fully exhaust all administrative rights to appeal a failure of the Bureau
of Prisons to bring a motion on the defendant’s behalf; the lapse of 30 days from the receipt of
such a request by the Warden, whichever is earlier).

☒ DENIED after complete review of the motion on the merits under 18 U.S.C. § 3582(c)(1)(A).
Factors considered:

        Defendant does not allege or provide support for his contention that this case
        presents “extraordinary and compelling” circumstances as described in U.S.S.G.
        § 1B13(1)(A) & App. Note 1.

☒ Defendant’s request for release to home confinement is DENIED. The CARES Act and 18
U.S.C. §3624(c)(2) do not grant courts statutory authority to modify a defendant’s place of
incarceration.

        SO ORDERED.

        July 29, 2020.


                                              BARBARA M. G. LYNN
                                              CHIEF JUDGE
